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                                                                             UNITED STATES DISTRICT COURT
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                                                                            CENTRAL DISTRICT OF CALIFORNIA
DERRYBERRY & ASSOCIATES LLP




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                                                  13   BOB AND ME PRODUCTIONS, INC.,                CASE NO. 2:20-CV-801 VAP-RAO
                              Attorneys at Law




                                                       a California corporation,
                                                  14

                                                  15                            Plaintiff,          JUDGMENT AND PERMANENT
                                                                                                    INJUNCTION
                                                  16               v.
                                                  17
                                                     LEMON LEAF CAFÉ, LLC, a
                                                  18 California limited liability company,

                                                  19 and DOES 1 to 10, inclusive;

                                                  20                            Defendants.
                                                  21

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                                                  23         On August 26, 2020, the Court granted Plaintiff BOB AND ME
                                                  24   PRODUCTIONS, INC., a California corporation’s Motion for Default Judgment
                                                  25   (Dkt. 25) against Defendant LEMON LEAF CAFÉ, LLC, a California limited
                                                  26   liability company, as to Counts 1, 3, and 4 of Plaintiff’s Complaint. The Court
                                                  27   granted Plaintiff’s requests for permanent injunctive relief and damages.
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                                                                              JUDGMENT AND PERMANENT INJUNCTION
                                                 Case 2:20-cv-00801-VAP-RAO Document 31 Filed 10/02/20 Page 2 of 3 Page ID #:256




                                                   1         At Plaintiff’s request (Dkt. 27), the Court entered an Order dismissing Count
                                                   2   2 of the Complaint on September 22, 2020 (Dkt. 29). As all claims have been
                                                   3   resolved, the issuance of a final judgment is appropriate.
                                                   4

                                                   5   Therefore, IT IS HEREBY ORDERED THAT:
                                                   6         1.     Final judgment as to liability is hereby entered against LEMON LEAF
                                                   7   CAFÉ, LLC, a California limited liability company for the claims as set forth in the
                                                   8   Complaint.
                                                   9         2.     BOB AND ME PRODUCTIONS, INC., a California corporation, is
                                                  10   awarded $25,000.00 in statutory damages and costs of suit in the amount of
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                                                  11   $505.00.
                                                  12         3.     LEMON LEAF CAFÉ, LLC, a California limited liability company,
                                                  13   shall take nothing.
                              Attorneys at Law




                                                  14         4.     LEMON LEAF CAFÉ, LLC, a California limited liability company,
                                                  15   and all persons or entities acting in concert with it shall be permanently enjoined and
                                                  16   restrained from:
                                                  17                (i)      displaying or otherwise using The Lemon Leaf Café:
                                                  18   Gourmet Marketplace® trademark, U.S. Trademark Registration No. 5628007, in
                                                  19   any manner, including on Defendant’s business premises, business products, website
                                                  20   and/or social media profiles, and any advertising media regardless of form;
                                                  21                (ii)     using any false descriptions or representations, or any false
                                                  22   designations of origin, or otherwise committing any acts of unfair competition with
                                                  23   respect to Plaintiff and its Mark, by using the Mark or any other trade name or
                                                  24   trademark confusingly similar to the Mark, including but not limited to ‘The
                                                  25   Leaf Café’ and any other trade name or trademark confusingly similar to The
                                                  26   Lemon Leaf Café: Gourmet Marketplace®.
                                                  27         5.     The Court retains jurisdiction over this matter for the purpose of
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                                                                                 JUDGMENT AND PERMANENT INJUNCTION
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                                                   1   making any further orders necessary or proper for the construction of this
                                                   2   Judgment and Permanent Injunction, the enforcement thereof, and the
                                                   3   punishment of any violations thereof.
                                                   4

                                                   5   IT IS SO ORDERED.
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                                                       Dated: October 2, 2020                  _________________________________
                                                   8
                                                                                               UNITED STATES DISTRICT JUDGE
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                              Attorneys at Law




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                                                                                JUDGMENT AND PERMANENT INJUNCTION
